Case 5:1O-cV-00051 Document 9 Filed in TXSD on 08/03/10 Page 1 of 2

Unltod States Dlstrlct tourt
Southern District cf Taxat
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS AU(~ __ q 2010
LAREDo DIVISION ’ '
m OF count
UNITED STATES OF AMERICA, § imm
§
Plaintiff, §
§
vs. § CIVIL AC'I`ION: L-l 0-51
§ (cmm; 2010A23541)
OLIVERO CANALES, §
§
Defendant. §

Agreed Judgment
l. On the agreement of the parties, the United States of America recovers from Olivero Canales:

Principal of $4021.13;

Prejudgment interest of $3364.94 to 09/09/2009, and daily accrual of $0.77 per diem until
the date of j udgment;

Attorney's fees of $785.00;

Filing fees of $350.00;

Proeess Server fees of $77.00;

wpc we

Post-judgment interest at 0 ' 3 % per annum.

Canala will make monthly payments of 500 00, beginning August l$, 2010 and continue to pay in
that amount on the fifteenth of each month until paid in full.

2. Monthly payments will be mailed to: Central Intake Facility
United Smtes Department of Justiee
P. O. Box 70932
Charlotte NC 28272-0932

3. Execution may issue immediately if the defenth defaults on payment

sign¢d. al/'M j 2010 arLaredo,Texas

United S% 0Distn'ct Iudge 0

 

Case 5:1O-cV-00051 Document 9 Filed in TXSD on 08/03/10 Page 2 of 2

ApprovedandEntry ues{:

 
   

By:

   

 

 

M. H. Cemmsky, , SBA #5082

J im L. Gancil, TBA#076367(I),SBA#8115 OLIVERO CANALES
1770 St lames Place. Suite 150 P. 0. Box 221
Houston, Texas 77056 laredo, Texas 78042

Tel. (713) 6(X)~8500 Fa.x (713) 600-8585
Attoroeys for the Uuited States of Amen`el

